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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 GE RENEWABLES NORTH AMERICA, LLC,

                               Plaintiff,
                                                              Case No.: 1:23-cv-09274-PKC
                       v.

 SKF USA INC.,

                               Defendant.


             DECLARATION OF C. NEIL GRAY IN SUPPORT OF
          DEFENDANT’S MOTION TO DISMISS THE COMPLAINT, OR,
   IN THE ALTERNATIVE, TO TRANSFER VENUE OR COMPEL ARBITRATION

       I, C. Neil Gray, pursuant to 28 U.S.C. § 1746, hereby declare as follows:

       1.     I am a partner in the law firm of Duane Morris LLP, attorneys for Defendant SKF

USA Inc. (“SKF”) in this action. I submit this declaration in support of SKF’s Motion to

Dismiss or, in the Alternative, to Transfer Venue or Compel Arbitration.

       2.     Attached hereto as Exhibit A is a true and correct copy of the Supply Agreement

entered into by GE Renewables North America, LLC and SKF on or about January 1, 2015.

       3.     Attached hereto as Exhibit B is a true and correct copy of the GE Renewable

Energy Terms of Purchase Rev. A – U.S., dated March 18, 2016.

       4.     Attached hereto as Exhibit C is a true and correct copy of the GE Renewable

Energy Terms of Purchase Rev. A – U.S., dated March 26, 2018.

       I hereby declare under penalty of perjury that the foregoing is true and correct.


Executed on April 26, 2024

                                                                    /s/ C. Neil Gray
                                                                    C. NEIL GRAY
